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        DECLARATION OF KEVIN McNALLY REGARDING THE GEOGRAPHIC
     LOCATION OF FEDERAL CASES, THE FREQUENCY OF AUTHORIZATIONS AND
   DEATH SENTENCES AND THE RACE AND GENDER OF DEFENDANTS AND VICTIMS

      1. I currently serve with the Federal Death Penalty Resource Counsel Project,

assisting court-appointed and defender attorneys charged with the defense of capital cases

in the federal courts. I have served as Resource Counsel since the inception of the Resource

Counsel Project (RCP) in January, 1992. I was the Director of the Project between 2007 and

2018. The Project is funded and administered under the Criminal Justice Act by the

Defender Services Office of the Administrative Office of the United States Courts.

      2. My responsibilities as federal resource counsel include the monitoring of all

federal capital prosecutions throughout the United States in order to assist in the delivery

of adequate defense services to indigent capital defendants in such cases. This effort

includes the collection of data on the initiation and prosecution of federal capital cases. 1


      1
       The work of the Federal Death Penalty Resource Counsel Project is described in a
report prepared by the Subcommittee on Federal Death Penalty Cases, Committee on
Defender Services, Judicial Conference of the United States, FEDERAL DEATH PENALTY
CASES: RECOMMENDATIONS CONCERNING THE COST AND QUALITY OF DEFENSE
R E P R E S E N T A T I O N             ( M a y ,      1 9 9 8 ) ,      a t     2 8 - 3 0 .
http://www.uscourts.gov/sites/default/files/original_spencer_report.pdf.                   The
Subcommittee report “urges the judiciary and counsel to maximize the benefits of the
Federal Death Penalty Resource Counsel Project ..., which has become essential to the
delivery of high quality, cost-effective representation in death penalty cases ....” Id. at 50.

       An update to the Report states: “Many judges and defense counsel spoke with
appreciation and admiration about the work of Resource Counsel. Judges emphasized their
assistance in recruiting and recommending counsel for appointments and their availability
to consult on matters relating to the defense, including case budgeting. Defense counsel
found their knowledge, national perspective, and case-specific assistance invaluable.”

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      3. In order to carry out the duties entrusted to me, I maintain a comprehensive list

of federal death penalty prosecutions and information about these cases. I accomplish this

by internet news searches, by reviewing dockets and by downloading and obtaining

indictments, pleadings of substance, notices of intent to seek or not seek the death penalty,

and by telephonic or in-person interviews with defense counsel or consultation with

chambers. This information is regularly updated and is checked for accuracy by consulting

with defense counsel. The Project’s information regarding federal capital prosecutions has

been relied upon by the Administrative Office of the United States Courts, by the Federal

Judicial Center and by various federal district courts.

      4. This declaration concerns: (1) the frequency with which the federal death penalty

has been sought and imposed since 1988; (2) the race of the defendants as to whom a

capital prosecution has been authorized; (3) the frequency with which the federal death

penalty is authorized and imposed on a regional basis; and (4) the race and gender of

victims.

                                              I.

                 FREQUENCY WITH WHICH THE FEDERAL DEATH PENALTY
                             IS SOUGHT AND IMPOSED

      5. The Project has collected information regarding all federal executions and all



http://www.uscourts.gov/services-forms/defender-services/publications/update-cost-and-
quality-defense-representation-federal
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potential and actual federal death penalty prosecutions initiated pursuant to 21 U.S.C. §

848(e) et seq., enacted in 1988, and/or 18 U.S.C. §3591, et seq., enacted in 1994.

      6. Based on the Project’s figures, as well as the reports published by the Department

of Justice in September 2000 and June 2001, the “pool” of potential capital defendants in

the federal system since 1988 totals 4,379. This figure is current as of December 17, 2019.

This consists of, among others, 52 cases reviewed prior to the 1995 Death Penalty Protocols

put into place by Attorney General Reno,2 682 reviewed by Ms. Reno after the Protocols

went into effect (2000 DOJ Study), 632 reviewed by Attorney General Ashcroft (RCP total),

403 reviewed by Attorney General Gonzales (RCP total), 19 reviewed by Acting Attorney

General Keisler (RCP total), 163 reviewed by Attorney General Mukasey (RCP total), 15

reviewed by Acting Attorney General Filip (RCP total), 980 reviewed by Attorney General

Holder (RCP total), 265 reviewed by Attorney General Lynch (RCP total), 6 reviewed by

Acting Attorney General Boente (RCP total), 1 reviewed by Acting Attorney General Yates

(RCP total), 341 reviewed by Attorney General Sessions, 43 reviewed by Acting Attorney

      2
       Prior to the Protocols, which went into effect on January 27, 1995, the Attorney
General only reviewed those cases in which a United States Attorney requested permission
to seek the death penalty. Potential capital cases where the local determination was not
to seek the death penalty were not reviewed by Main Justice. The change wrought by the
Protocols was a requirement that all potential death-penalty cases, whether the United
States Attorney wished to pursue the death penalty or not, be submitted to Main Justice
for review and a final decision by the Attorney General. However, the United States
Attorney remained free to enter into a plea agreement specifying a sentence other than
death. Attorney General Ashcroft required Main Justice review of all such proposed plea
agreements in 2001.
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General Whitaker (RCP total) and 161 by current Attorney General Barr. There are also an

additional 303 cases identified by United States Attorneys as potential capital cases that

were never submitted for review (2001 DOJ Report).3 The Project has also identified

additional cases reviewed by the various Attorneys General as well as others that were

never submitted for review and/or charged as capital offenses even though there was

justification for doing so. Of the total of 4,379 potential federal capital defendants, 333 are

currently pending review by the Department of Justice, bringing the total defendants

reviewed so far to 4,046.

      7. From this group of 4,046 potential capital defendants, a total of 530 defendants

have actually been authorized for capital prosecution. Thus, the Department of Justice has

authorized capital prosecutions involving approximately 13% (530/4,046) of the defendants

against whom the penalty could have been sought. To date, juries have returned 86 death

verdicts as to 82 different defendants (four of those defendants were sentenced to death

at both an original trial and then, after having their death sentence overturned on appeal,

again at a resentencing retrial). Three defendants have been executed. 4 Two defendants



      3
      See the discussion of this figure at n. 10 of the June 2001 Supplemental Justice
Department Study.
      4
       Two federal executions took place in the year 2001 (Timothy McVeigh and Juan
Garza) and one in the year 2003 (Louis Jones). Messrs. McVeigh and Jones were executed
pursuant to the Federal Death Penalty Act of 1994. Mr. Garza was executed pursuant to
the 1988 enactment, 21 U.S.C. § 848(e).
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were granted clemency. There are 63 defendants presently on the federal death row under

an active sentence of death. These cases are in various stages of review via direct appeal

or post-conviction proceedings brought pursuant to 28 U.S.C. § 2255. There are 28

defendants presently pending or in trial who have been “authorized” by the Attorney

General.

      8. To date, juries have sentenced 153 defendants to a life sentence and 86

defendants to death. Judges have sentenced three defendants to life in prison.

                                             II.

                          RACE OF DEFENDANTS AUTHORIZED
                         FOR FEDERAL CAPITAL PROSECUTIONS

      9. The racial composition of the pool of 530 defendants whose cases were

authorized for a federal capital prosecution is as follows: (A) African-American, 263 (50%);

(B) Caucasian, 142 (27%); (C) Latino, 98 (18%); and (D), “other,” 27 (5%). These figures are

current as of December 17, 2019.

                                            III.

                             RACE AND GENDER OF VICTIMS




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      10. Since 2000, in a grossly disproportionate number of cases, juries have imposed

the death penalty when the victim was a white female. As of December 17, 2019, white

female victim cases constituted 38% (24 of 63) of federal death row but only 5% (182 of

3354) of the available pool of potential defendants since the year 2000. Moreover, 42% (27

of 64) of all death sentences between 2000 and 2019 have involved white female

victims. This is many times greater than one would expect given the pool of white female

victim cases.

      11. Attached as Exhibit A is a completed data set of all such authorized cases as of

December 17, 2019.

      12. Attached as Exhibit B is a 2016 declaration by an expert, Lauren Cohen Bell, Ph.D.,

which concludes that federal capital defendants accused of the murder of a white female

are more than twice as likely than other federal capital defendants to be sentenced to

death. Dr. Bell concludes that there is: “[A] robust correlation between the presence of a

white female victim and the imposition of a death sentence.” [Exhibit B at 6]. Dr. Bell

states that there is a “one-tenth of one percent, or one in one thousand” chance that the

race and gender of the victim is not related to the capital sentencing outcome. [Exhibit B

at 6]. Attached as Exhibit C is Dr. Bell’s curriculum vita. This opinion holds regardless of the

race of the defendant.




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                                               IV.

                                   REGIONAL VARIATIONS

       13. Based on figures compiled by the Death Penalty Information Center (current as

of December 17, 2019) the states which currently lead the nation in post-Gregg executions

are Texas (567), Virginia (113), Oklahoma (112) and Florida (99). The states whose federal

districts have the most authorized federal death penalty prosecutions (including pending

cases) are Virginia (57), California (46), New York (46), Texas (37), Missouri (31) and

Maryland (26). Federal districts in the following states have had more than one federal

death sentence returned by juries: Texas (16), Missouri (10), Virginia (8), Louisiana (4),

North Carolina (4), South Carolina (4), Georgia (3), Oklahoma (3), Maryland (2),

Pennsylvania (2), Arkansas (2), California (2), Florida (2), Illinois (2), Iowa (2), New York (2),

Massachussetts (2) and West Virginia (2). Of the 86 federal death sentences imposed by

juries since 1988, 56 (or 65%) have come from the traditional “death belt” states, the states

that have historically executed the most people.

       14. The United States Courts system has 94 districts. Of those, 22 districts (or 23%)

have never had a case authorized for a federal death penalty prosecution. 5 Attached as


       5
       1) M.D. Alabama; 2) S.D. California; 3) D. Delaware; 4) D. Guam; 5) M.D. Louisiana;
6) D. Maine; 7) D. Minnesota; 8) D. Montana; 9) D. Nebraska; 10) D. Nevada; 11) D. New
Hampshire; 12) D. Northern Mariana Islands; 13) N.D. Oklahoma; 14) D. Oregon; 15) D.
South Dakota; 16) D. Utah; 17) D. Virgin Islands; 18) E.D. Washington; 19) W.D. Washington;
20) E.D. Wisconsin; 21) W.D. Wisconsin and 22) D. Wyoming.
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Exhibit D is a district by district breakdown of federal death penalty defendants.

      15. There have been 10 federal death-penalty cases tried in the First Circuit involving

a total of 12 defendants, as follows: 3 trials in the District of Massachusetts (3 defendants -

1 life sentence and 2 death sentences), 7 trials in the District of Puerto Rico (9 defendants -

2 acquittals and 7 life sentences). The First Circuit trials, involving 12 defendants, resulted

in 2 death sentences (or 17%).

      16. In the Second Circuit there have been 22 federal death-penalty cases tried

involving a total of 31 defendants, as follows: 4 trials in the District of Connecticut (4

defendants - 1 acquittal, 2 life sentences and 1 death sentence), 1 trial in the District of

Vermont (1 defendant - 1 death sentence), 12 trials (1 trial was a retrial) in the Eastern

District of New York (12 defendants - 11 life sentences and 1 death sentence), 2 trials in the

Northern District of New York (5 defendants - 1 authorization withdrawn at trial and 4 life

sentences) and 6 trials in the Southern District of New York (9 defendants - 1 guilty plea at

trial, 1 acquittal and 7 life sentences). Only 1 death verdict has been returned. 6 The Second

Circuit trials involving 31 defendants resulted in 3 death sentences (or 10%). Two of these

death sentences have been vacated in subsequent proceedings.7


      6
       Ronell Wilson (ED NY) received a death sentence at his trial and at his resentencing
after appeal. That death sentence was reduced to life in prison without release because
he was found to be intellectually disabled.
      7
      Donald Fell received a new trial in Vermont and entered into a plea agreement and
was sentenced to life in prison without release.
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       17. In the Third Circuit there have been 13 federal death-penalty cases tried,

involving a total of 18 defendants, as follows: 2 trials in New Jersey (2 defendants - one life

sentence, the other committed suicide at trial), 6 trials in the Eastern District of

Pennsylvania (10 defendants resulting in 1 authorization withdrawn at trial, 3 guilty pleas

at trial, 1 acquittal, 4 life sentences and 1 death sentence), 4 trials in the Middle District of

Pennsylvania (5 defendants resulting in 1 authorization withdrawn at trial, 1 life sentence

by the judge, 2 life sentences by the jury and 1 death sentence) and 2 trials in the Western

District of Pennsylvania (2 defendants - 2 life sentences). The Third Circuit’s trials involving

18 defendants resulted in 2 death sentences (or 11%).

       18. In the Fourth Circuit there have been 48 federal death penalty cases tried,

involving 72 defendants, as follows: 11 trials in the District of Maryland (13 defendants - 1

guilty plea at trial, 1 lesser included conviction, 8 life sentences by a jury and 1 life sentence

by a judge and 2 death sentences), 5 trials in the District of South Carolina (5 defendants -

1 life sentence and 4 death sentences), 20 trials in the Eastern District of Virginia (35

defendants - 1 guilty plea a trial, 2 lesser included convictions, 2 acquittals, 22 life sentences

by jury, 1 life sentence by judge and 7 death sentences), 2 trials in the Northern District of

West Virginia (2 defendants - 1 guilty plea at trial and 1 dismissal after notice), 2 trials in the

Southern District of West Virginia (1 trial resulting in 2 death sentences but a new trial was

granted resulting in a guilty plea by one defendant and a life sentence from the jury for the


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other defendant), 5 trials in the Western District of North Carolina (5 defendants - 1

authorization withdrawn at trial, 1 life sentence and 3 death sentences) and 8 trials in the

Western District of Virginia (10 defendants - 2 authorizations withdrawn at trial, 2

acquittals, 5 life sentences and 1 death sentence). The Fourth Circuit’s trials involving 72

defendants resulted in 16 death sentences or (22%).

      19. In the Fifth Circuit there have been 22 federal death penalty cases tried, involving

31 defendants, as follows: 5 trials in the Eastern District of Louisiana (5 defendants - but

one defendant twice - so 6 outcomes) - 1 guilty plea at trial, 1 life sentence and 4 death

sentences), 9 trials in the Eastern District of Texas (12 defendants - 5 life sentences and 7

death sentences), 5 trials in the Northern District of Texas (5 defendants - 1 life sentence

and 4 death sentences), 2 trials in the Southern District of Mississippi (2 defendants - 2 life

sentences), 3 trials in the Southern District of Texas (3 defendants - 1 life sentence and 2

death sentences), 1 trial in the Western District of Louisiana (1 defendant - 1 death

sentence) and 2 trials in the Western District of Texas (3 defendants - 3 death sentences).

The Fifth Circuit’s trials involving 31 defendants resulted in 21 death sentences (or 68%).

      20. There have been 16 federal death-penalty cases tried in the Sixth Circuit

involving a total of 19 defendants, as follows: 3 trials in the Eastern District of Michigan (3

defendants - 1 guilty plea at trial and 2 life sentences), 1 trial in the Eastern District of

Tennessee (1 defendant - 1 death sentence), 2 trials in the Middle District of Tennessee (2


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defendants - 1 guilty plea at trial and 1 life sentence), 2 trials in the Northern District of

Ohio (2 defendants - 2 life sentences), 3 trials in the Southern District of Ohio (3 defendants

- 2 life sentences and 1 death sentence), 2 trials in the Western District of Kentucky (2

defendants - 2 life sentences), 3 trials in the Western District of Michigan (3 defendants -

2 life verdicts and 1 death verdict) and 2 trials in the Western District of Tennessee (3

defendants - 2 guilty pleas at trial and 1 life verdict). The Sixth Circuit’s trials involving 19

defendants resulted in 3 death sentences (or 16%).

      21. There have been 7 federal death-penalty cases tried in the Seventh Circuit,

involving a total of 10 defendants, as follows: 5 trials in the Northern District of Illinois (5

defendants - 3 life sentences and 2 death sentences), 1 trial in the Central District of Illinois

(1 defendant - 1 life sentence) and 3 trials in the Northern District of Indiana (4 defendants -

1 authorization withdrawn at trial, 2 life sentences and 1 death sentence). In the Seventh

Circuit’s trials involving 10 defendants, there have been 3 death verdicts (or 30%).

      22. In the Eighth Circuit there have been 21 federal death penalty cases tried,

involving 32 defendants, as follows: 1 trial in North Dakota (1 defendant - 1 death

sentence), 3 trials in the Eastern District of Arkansas (4 defendants - 1 guilty plea at trial,

2 life sentences and 1 death sentence), 4 trials in the Eastern District of Missouri (5

defendants - 2 life sentences and 3 death sentences), 2 trials in the Northern District of

Iowa (2 defendants - 2 death sentences) (1 death sentence vacated and authorization was


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withdrawn), 2 trials in the Western District of Arkansas (2 defendants - 1 life sentence and

1 death sentence), 13 trials in the Western District of Missouri (18 defendants - 1

authorization withdrawn at trial, 10 life sentences and 7 death sentences). The Eighth

Circuit’s 32 defendants who went to trial resulted in 15 death sentences (or 47%).

       23. There have been 11 federal death-penalty cases tried in the Ninth Circuit

involving a total of 22 defendants, as follows: 7 trials in the Central District of California (15

defendants - 3 authorizations withdrawn at trial, 2 guilty pleas at trial, 2 acquittals, 6 life

sentences and 2 death sentences), 1 trial in the District of Arizona (1 defendant - 1 death

sentence), 1 trial in the District of Hawaii (1 defendant - 1 life sentence), 1 trial in the

District of Idaho (1 defendant - 1 death sentence), 1 trial in the Eastern District of California

(1 defendant - 1 guilty plea at trial), 3 trials in the Northern District of California (3

defendants - 1 guilty plea at trial and 2 life sentences). There were 4 death verdicts

returned in the Ninth Circuit in trials involving 22 defendants (or 18%).

       24. In the Tenth Circuit there have been 13 federal death penalty cases tried,

involving 18 defendants, as follows: 4 trials in the District of Colorado (4 defendants - 3 life

sentences and 1 death sentence), 4 trials in the District of Kansas (4 defendants - 1

authorization withdrawn at trial, 2 life sentences and 1 death sentence), 4 trials in the

District of New Mexico (4 defendants - 2 guilty pleas at trial and 2 life sentences), 4 trials

in the Eastern District of Oklahoma (5 defendants - 2 life sentences and 3 death sentences)


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and 1 trial in the Western District of Oklahoma (1 defendant - 1 guilty plea at trial). The

Tenth Circuit’s trials involving 18 defendants resulted in 5 death sentences (or 28%).

       25. In the Eleventh Circuit there have been 17 federal death penalty cases tried,

involving 20 defendants, as follows: 2 trials in the Middle District of Florida (2 defendants -

2 life sentences), 1 trial in the Middle District of Georgia (1 defendant - life sentence), 3

trials in the Northern District of Alabama (3 defendants - 1 guilty plea at trial, 1 life sentence

and 1 death sentence), 3 trials in the Northern District of Georgia (3 defendants - 1 life

sentence and 2 death sentences), 1 trial in the Southern District of Alabama (1 defendant -

1 life sentence), 5 trials in the Southern District of Florida (8 defendants - 3 acquittals, 3 life

sentences and 2 death sentences) and 2 trials in the Southern District of Georgia (2

defendants - 1 life sentence and 1 death sentence). The Eleventh Circuit’s trials involving

20 defendants resulted in 6 death sentences (or 30%).

       28. In the D.C. Circuit there have been 3 federal death penalty cases tried, involving

4 defendants, resulting in 4 life sentences, or 0% death sentences.

       29. I also have information on the number of authorized federal death penalty cases,

since 1988, by the state in which each such prosecution was brought. According to the

Project’s records, the following compilation accurately sets forth the particular state in

which each of the 530 federal death penalty cases authorized since 1988 was prosecuted:

              Alabama (6), Alaska (3), Arizona (6), Arkansas (7), California (46),
              Colorado (8), Connecticut (5), DC (17), Florida (16), Georgia (9),

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              Hawaii (2), Idaho (1), Illinois (14), Indiana (8), Iowa (4), Kansas (7),
              Kentucky (5), Louisiana (14), Maryland (26), Massachusetts (5),
              Michigan (22), Mississippi (3), Missouri (30), New Jersey (4), New
              Mexico (10), New York (48), North Carolina (10), North Dakota
              (2), Ohio (7), Oklahoma (6), Pennsylvania (24), Puerto Rico (25),
              Rhode Island (1), South Carolina (5), Tennessee (18), Texas (36),
              Vermont (3), Virginia (57), West Virginia (10).

        I declare under the penalty of perjury under the laws of the United States of America,

28 U.S.C. §1746, that the foregoing is true and correct. Executed this 17 th day of December,

2019.

                                                   /s/ Kevin McNally
                                                  Kevin McNally




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Table of Federal Capital Trials by District




                 Exhibit D
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                                                                    EXHIBIT D

                  A             B      C          D       E     F        G       H        I        J          K       L

                                                Started                        Lesser   Auth WD GP at       Died at Pending
  1   DISTRICT                Pool Authorized   Trial    Death Life Acquittal Included at Trial Trial       Trial   trial
  2   Alabama - Middle           1          0          0      0    0         0        0        0        0         0       0
  3   Alabama - Northern         6          5          3      1    1         0        0        0        1         0       0
  4   Alabama - Southern        12          1          1      0    1         0        0        0        0         0       0
  5   Alaska                    15          3          0      0    0         0        0        0        0         0       1
  6   Arizona                   81          6          1      1    0         0        0        0        0         0       0
  7   Arkansas - Eastern        17          4          4      1    2         0        0        0        1         0       0
  8   Arkansas - Western         6          3          2      1    1         0        0        0        0         0       0
  9   California - Central     170         29         16      2    6         2        0        3        3         0       1
 10   California - Eastern      39          7          1      0    0         0        0        0        1         0       0
 11   California - Northern    103         10          3      0    2         0        0        0        1         0       2
 12   California - Southern     34          0          0      0    0         0        0        0        0         0       0
 13   Colorado                  30          8          4      1    3         0        0        0        0         0       0
 14   Connecticut               58          5          4      1    2         1        0        0        0         0       0
 15   District of Columbia     108         17          4      0    4         0        0        0        0         0       0
 16   Delaware                   5          0          0      0    0         0        0        0        0         0       0
 17   Florida - Middle          51          5          2      0    2         0        0        0        0         0       1
 18   Florida - Northern         3          2          0      0    0         0        0        0        0         0       0
 19   Florida - Southern       107          9          8      2    3         3        0        0        0         0       0
 20   Georgia - Middle           6          3          1      0    1         0        0        0        0         0       0
 21   Georgia - Northern        63          4          3      2    1         0        0        0        0         0       0
 22   Georgia - Southern        12          2          2      1    1         0        0        0        0         0       0
 23   Hawaii                    16          2          1      0    1         0        0        0        0         0       0
 24   Idaho                      2          1          1      1    0         0        0        0        0         0       0
 25   Illinois - Central         4          1          1      0    1         0        0        0        0         0       0
 26   Illinois - Northern       70          6          5      2    3         0        0        0        0         0       0
 27   Illinois - Southern       12          7          0      0    0         0        0        0        0         0       0
 28   Indiana - Northern        39          5          4      1    2         0        0        1        0         0       0
 29   Indiana - Southern        22          3          0      0    0         0        0        0        0         0       0
 30   Iowa - Northern           13          2          2      2    0         0        0        0        0         0       0
 31   Iowa - Southern            3          2          0      0    0         0        0        0        0         0       0


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                                                                     EXHIBIT D

                 A               B     C        D        E       F        G          H       I       J       K       L
 32   Kansas                      38        7        4       1    2              0       0       1       0       0       0
 33   Kentucky - Eastern          17        1        0       0    0              0       0       0       0       0       0
 34   Kentucky - Western          24        4        2       0    2              0       0       0       0       0       0
 35   Louisiana - Eastern         93       13        5       3    1              0       0       0       1       0       3
 36   Louisiana - Western         14        1        1       1    0              0       0       0       0       0       0
 37   Maine                        1        0        0       0    0              0       0       0       0       0       0
 38   Maryland                   198       26       13       2    9              0       1       0       1       0       0
 39   Massachussetts              40        5        3       2    1              0       0       0       0       0       0
 40   Michigan - Eastern         119       19        3       0    2              0       0       0       1       0       3
 41   Michigan - Western          25        3        3       1    2              0       0       0       0       0       0
 42   Minnesota                   12        0        0       0    0              0       0       0       0       0       0
 43   Mississippi - Northern       2        1        0       0    0              0       0       0       0       0       0
 44   Mississippi - Southern      29        2        2       0    2              0       0       0       0       0       0
 45   Missouri - Eastern          60        7        5       3    2              0       0       0       0       0       1
 46   Missouri - Western          63       23       18       7   10              0       0       1       0       0       2
 47   Montana                      4        0        0       0    0              0       0       0       0       0       0
 48   Nebraska                     7        0        0       0    0              0       0       0       0       0       0
 49   Nevada                      37        0        0       0    0              0       0       0       0       0       0
 50   New Hampshire                1        0        0       0    0              0       0       0       0       0       0
 51   New Jersey                  57        4        2       0    1              0       0       0       0       1       0
 52   New Mexico                  94       10        4       0    2              0       0       0       2       0       0
 53   New York - Eastern         340       22       12       1   11              0       0       0       0       0       0
 54   New York - Northern         19        6        5       0    4              0       0       1       0       0       1
 55   New York - Southern        537       18        9       0    7              1       0       0       1       0       2
 56   New York - Western          51        2        0       0    0              0       0       0       0       0       0
 57   North Carolina - Eastern    29        4        0       0    0              0       0       0       0       0       0
 58   North Carolina - Middle      9        1        0       0    0              0       0       0       0       0       0
 59   North Carolina - Western    43        5        5       3    1              0       0       1       0       0       0
 60   North Dakota                11        2        1       1    0              0       0       0       0       0       0
 61   Ohio - Northern             11        3        2       0    2              0       0       0       0       0       0
 62   Ohio - Southern             63        4        3       1    2              0       0       0       0       0       0
 63   Oklahoma - Eastern          10        5        5       3    2              0       0       0       0       0       0
 64   Oklahoma - Northern         13        0        0       0    0              0       0       0       0       0       0


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                 A                 B     C         D        E        F        G          H       I        J        K       L
 65   Oklahoma - Western            8          1        1        0     0             0       0        0        1       0        0
 66   Oregon                       13          0        0        0     0             0       0        0        0       0        0
 67   Pennsylvania - Eastern       43         11       10        1     4             1       0        1        3       0        0
 68   Pennsylvania - Middle        34          8        4        1     2             0       0        1        0       0        0
 69   Pennsylvania - Western       11          5        2        0     2             0       0        0        0       0        1
 70   Puerto Rico                 292         25        9        0     7             2       0        0        0       0        2
 71   Rhode Island                 11          1        0        0     0             0       0        0        0       0        0
 72   South Carolina               36          5        5        4     1             0       0        0        0       0        0
 73   Tennessee - Eastern           5          1        1        1     0             0       0        0        0       0        0
 74   Tennessee - Middle           51          7        2        0     1             0       0        0        1       0        1
 75   Tennessee - Western          34         10        3        0     1             0       0        0        2       0        0
 76   Texas - Eastern              43         16       12        7     5             0       0        0        0       0        1
 77   Texas - Northern             34          9        5        4     1             0       0        0        0       0        0
 78   Texas - Southern             95          8        3        2     1             0       0        0        0       0        4
 79   Texas - Western             105          3        3        3     0             0       0        0        0       0        0
 80   Utah                         14          0        0        0     0             0       0        0        0       0        0
 81   Vermont                       9          3        1        1     0             0       0        0        0       0        0
 82   Virgin Islands               18          0        0        0     0             0       0        0        0       0        0
 83   Virginia - Eastern          228         43       35        7    23             4       0        0        1       0        0
 84   Virginia - Western           67         14       10        1     5             2       0        2        0       0        0
 85   Washington - Eastern          5          0        0        0     0             0       0        0        0       0        0
 86   Washington - Western          7          0        0        0     0             0       0        0        0       0        0
 87   West Virginia - Northern     21          7        1        0     0             0       0        0        1       0        2
 88   West Virginia - Southern      5          3        2        2     0             0       0        0        0       0        0
 89   Wisconsin - Eastern          10          0        0        0     0             0       0        0        0       0        0
 90   Wyoming                       1          0        0        0     0             0       0        0        0       0        0
 91
 92   Through RC ID # 5568       4379        530   289          82   155          16         1       12       22       1       28




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